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                     Exhibit 2
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                                                                         1



                   IN THE COURT OF COMMON PLEAS OF
                    ALLEGHENY COUNTY, PENNSYLVANIA
                                -----

  COMMONWEALTH OF                   CRIMINAL DIVISION
  PENNSYLVANIA
                                    CC No. 10522-2014
             vs.
                                    PROCEEDING:
                                    Sentencing
  DUANE YOUNGBLOOD,
                                    DATE:
                                    March 10, 2015
            Defendant.
                                    REPORTED BY:
                                    Veronica R. Trettel, RMR, CRR
                                    Official Court Reporter

                                    BEFORE:
                                    Hon. Jill Rangos

                                    COUNSEL OF RECORD:
                                    For the Commonwealth:
                                    Evan Lowry, Esq.

                                    For the Defendant:
                                    Milton Raiford, Esq.




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                                                                              2



 1                                    P-R-O-C-E-E-D-I-N-G-S
 2                                             - - -
 3                              Tuesday Morning, March 10, 2015
 4                                             - - -
 5                                       (In Open Court)
 6                                             - - -
 7                            THE COURT: Commonwealth versus Duane
 8                 Youngblood. Counsel, please enter your appearance.
 9                            MR. LOWRY: May it please the Court, Evan
10                 Lowry on behalf of the Commonwealth, Your Honor.
11                            MR. RAIFORD: Milton Raiford for
12                 Mr. Youngblood.
13                            THE COURT: We do have a Pre-Sentence Report
14                 in this case. Each of you have had the opportunity to
15                 review that report; is that correct?
16                            MR. RAIFORD: Yes, ma'am.
17                            MR. LOWRY: Yes, Your Honor.
18                            THE COURT: Are there any additions or
19                 corrections?
20                            MR. RAIFORD: I believe there's a couple,
21                 just dates in terms of the time that Mr. Youngblood
22                 began his counseling, was getting his counseling. It
23                 was 2011. And I think they put another date in there
24                 in that regard.
25                            At the time he was seeing the victim in the
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                                                                              3



 1                 case, it was 2011 and not 2010.
 2                             THE COURT: I've been handed some letters on
 3                 behalf of Mr. Youngblood. I'll take a moment and read
 4                 those.
 5                             Mr. Lowry, did you receive copies of those?
 6                             MR. LOWRY: I have not, Your Honor.
 7      (Pause noted)
 8                             THE COURT: I have read all three letters
 9                 provided to me by the defense.
10                             Mr. Lowry, have you had an opportunity to
11                 read those.
12                             MR. LOWRY: I have, Your Honor. Thank you.
13                             THE COURT: I'll incorporate them into the
14                 record here today. You have no other witnesses. Is
15                 that accurate, Mr. Raiford?
16                             MR. RAIFORD: That's correct.
17                             THE COURT: So we'll ask Mr. Lowry to
18                 present his witnesses. Then I'll give each of you the
19                 opportunity for allocution.
20                             I would ask Mr. Youngblood to step over to
21                 the other side of Mr. Raiford, please.
22                             MR. LOWRY: Commonwealth would call
23                            III.
24                             Mr.            please state your name and
25                 spell your last name for the record.
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 1                            MR.              My name is
 2                                .
 3                            MR. LOWRY: And               how do you know
 4
 5                            MR.              He's my brother.
 6                            MR. LOWRY: Is he your older or younger
 7                 brother?
 8                            MR.              Older brother.
 9                            MR. LOWRY: Did you prepare a statement to
10                 read for the Judge today?
11                            MR.              Yes.
12                            MR. LOWRY: Can you read that statement for
13                 Judge Rangos?
14                            MR.              Yes. What happened to my
15                 brother has affected myself because I never thought
16                 such a horrible thing could happen to my brother.
17                            When I first found out, I didn't express any
18                 emotions because I didn't understand why would anyone
19                 do this to my brother. Especially my former pastor.
20                            My family has been attending his church for
21                 several years. We trusted him to preach the Word of
22                 God. I felt anger, frustration, anxiety. Why is the
23                 question I wanted to ask. I looked up to my older
24                 brother. Through this process, he has portrayed
25                 strength and perseverance, and he has the most
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                                                                               5



 1                 despairing and painful memories. Watching him made me
 2                 look up to him even more.
 3                            MR. LOWRY: That would be all from
 4                 Your Honor.
 5                            THE COURT: Thank you, Mr.
 6                            Any questions?
 7                            MR. RAIFORD: No, ma'am.
 8                            MR. LOWRY: Commonwealth would call
 9
10                            Can you please state your name for the
11                 record.
12                            MS.
13                            MR. LOWRY: And how do you know
14                            MS.              He's my older brother.
15                            MR. LOWRY: And                   did you prepare a
16                 statement to read to the Judge today?
17                            MS.              Yes.
18                            MR. LOWRY: Can you please read that
19                 statement?
20                            MS.              My family's claim to love was
21                 destroyed behind closed doors. As most people know,
22                 me and my brother are very close, and me and him both
23                 attend four-year colleges his senior my freshman year.
24                 Those years are stressful enough for any college
25                 student without anything being added to it. I feel
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 1                 that it made our family, me personally, anger,
 2                 frustration, and it has torn our family apart.
 3                            For the years past, it is coming out now
 4                 Duane Youngblood operating and being ashamed. They
 5                 will have to carry this with them for the rest of
 6                 their lives. They are supposed to help build up, but
 7                 took advantage. It bothers me to a point where not
 8                 only he did it, but he was a preacher who got up in
 9                 front of a congregation speaking and taught the word
10                 of God which was off. I looked at him as a father
11                 figure. I enjoyed and loved at the time serving this
12                 man and his family, helping out with the reception
13                 before and after church.
14                            Watching his interaction with his daughters
15                 he has brought tears to my eyes because it was
16                 beautiful. I loved talking to him, period, giving him
17                 strong hugs and the words "I love you" came out of his
18                 mouth. I respected Duane, admired and looked up to
19                 him, even though he has misled and betrayed my brother
20                 and my family. I have a bleeding heart for people.
21                 No, I do not like the situation, but, yes, I do love
22                 him and forgive him for his wrongdoing to my family
23                 and especially my brother just as Christ would.
24                            And as my mom, said, yes, we are to learn
25                 from bad experiences. Never forget the past, but to
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                                                                                    7



 1                 keep moving forward and, yes, that is exactly what we
 2                 plan to do. Move forward.
 3                             THE COURT: Thank you, Ms.
 4                             MS.             You're welcome.
 5                             MR. LOWRY: Commonwealth would call
 6                        Jr.
 7                             Mr.            can you please state your name
 8                 for the Court.
 9                                                                            Jr.
10                             MR. LOWRY: And how are you related to
11                            sir?
12                                                   He's my son.
13                             MR. LOWRY: Did you prepare a statement to
14                 read to Judge Rangos?
15                                                   Yes.
16                             MR. LOWRY: And would you do so at this
17                 time, sir?
18                                                   As I stand here before
19                 the Court as               father, I feel a certain level
20                 of responsibility for what happened to my son. I
21                 asked for him to be counselled, and I am at fault for
22                 not monitoring the counseling more closely. I feel
23                 like I let my child down because your children expect
24                 you to make wise decisions concerning their care and
25                 not to hand them over to be assaulted. I won't stand
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 1                 here and take all of the blame though. You expect
 2                 that when you take your child to the pastor and he
 3                 agrees to counsel, counsel your child, that there's
 4                 not an ulterior motive there.
 5                             I know some would say that you should try
 6                 and understand that is some sort of disease, but
 7                 that's BS and that's not true. It's not a disease.
 8                 It's surely a sickness of integrity. It's a choice.
 9                 A choice was made to assault my son, and other young
10                 men. It was a choice to blatantly lie to my face
11                 repeatedly and he was very smart and calculating and
12                 very deceptive in everything he did.
13                             My son should be able to trust his father
14                 without question and I love the church. I just hope
15                 that this Court does everything legally possible that
16                 this doesn't happen to anyone else's child.
17                             THE COURT: Thank you, Mr.
18                             MR. LOWRY: Commonwealth calls
19                             Ms.            can you please state your name.
20                             MS.
21                             MR. LOWRY: And how are you related to
22                            ma'am?
23                             MS.             His mother.
24                             MR. LOWRY: Did you prepare a statement to
25                 read to Judge Rangos at this time?
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                                                                               9



 1                             MS.             Yes, I did.
 2                             MR. LOWRY: Would you please do so?
 3                             MS.             Your Honor, I left to
 4                 defendant's Youngblood church in November of 2012
 5                 because he had wanted to counsel my daughter. At the
 6                 time I didn't know what had happened to my son
 7                            but the defendant did and tried all he could
 8                 to persuade me to come back to the church, and when
 9                 that didn't work, he and the members of his church
10                 began to slander my name.
11                             While having a conversation with my son last
12                 July of 2014, he told me that between 2009 and 2011,
13                 he had been sexually assaulted by the defendant. Your
14                 Honor, it felt like someone had ripped my heart out of
15                 my chest, and all I could do was cry out, "Lord help
16                 me."
17                             I asked my son why didn't you tell me, and
18                 he said the defendant kept telling him, "Don't tell
19                 your mom."
20                             Your Honor, me and my entire family had
21                 served this church. I was there for 12 years with my
22                 kids, and my husband for 13-and-a-half years.
23                 Finally, this was out like a slap in the face, and the
24                 ultimate sense of betrayal. My husband had stayed and
25                 served in this church after I left. This man was
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                                                                               10



 1                 honor bearer and deacon of the church. Him and my son
 2                 both called him dad and highly respected him. The
 3                 information of finding out my son was sexually
 4                 assaulted by our bishop, the defendant, has been
 5                 emotionally, mentally, and physically stressful these
 6                 past couple of months, but my son                  has had to
 7                 deal with the guilt, shame, and fear since this has
 8                 come out -- well, since this happened starting in
 9                 2009.
10                             This has turned a husband against me, his
11                 wife and family because the defendant so seized the
12                 division and confusion between -- fusion because he
13                 was mad that I would not submit to my husband and
14                 return to the church so he could keep his secret
15                 hidden and cover up his lies about sexually assaulting
16                 our son.
17                             The defendant claims that he wants to help
18                 young men who are hurting, but while all this time
19                 he's the one who has been hurting them by sexually
20                 assaulting them.
21                             He took an oath before God to pray for, help
22                 and to help the less fortunate and needy. The
23                 defendant is a wolf in sheep's clothing and preyed,
24                 P-R-E-Y-E-D, on my son and other people in his church.
25                 He said he has a sickness and a disease and he does.
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 1                 He is a serial molester and has not tried to stop.
 2                 That's why I petition this Court today to give him the
 3                 maximum punishment allowable for this offense.
 4                             THE COURT: Thank you, Mrs.
 5                             MR. LOWRY: The Commonwealth would call
 6                                      Can you please state your name spell
 7                 your first name.
 8                                                   My name is
 9                             My first name is spelled
10                             MR. LOWRY: And                  did you prepare a
11                 statement as to how this crime and case has affected
12                 your life?
13                                                   I did.
14                             MR. LOWRY: Can you please read it to Judge
15                 Rangos?
16                                                   Your Honor, good morning.
17                 So I've known Duane since I was around probably eight
18                 to ten. I've looked at him as a father figure and
19                 I've told this man that I looked at him as a father
20                 figure in our conversations.
21                             I went to him for counseling for dealing
22                 with attraction to men, and also dealing with just
23                 different things just talking to him in general, just
24                 having nice conversations and just enjoying each
25                 other's company, Your Honor.
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                                                                               12



 1                             I didn't understand at the time when I -- we
 2                 used to have conversations and I used to mention
 3                 counseling, and he used to say this isn't counseling.
 4                 I didn't necessarily understand what he meant at the
 5                 time of him saying that.
 6                             I remember us having conversations on the
 7                 phone, possibly me telling him I wanted this to stop.
 8                 That I looked at him as a father figure. My dad
 9                 looked at him as a father figure, and he did apologize
10                 at the time, Your Honor. But I believe that I
11                 remember that it happening after that.
12                             He used to tell me that -- we used to talk
13                 about different tests that would come with different
14                 men trying to talk to me, and I remember while sitting
15                 in his office was the test that we're going to come or
16                 was this the test?
17                             I also remember like very often how once
18                 everything had started, the different things between
19                 me and him, how did I get here? And how I get out of
20                 this situation, but I always to certain extent wanted
21                 to please him. I remember not wanting to tell my
22                 parents for the fact of feeling ashamed of what had
23                 happened.
24                             Also, for -- I also didn't want to cause
25                 grief and pain because this similar incident had
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                                                                               13



 1                 happened to me when I was a younger child and I had --
 2                 Duane knew about that, and I didn't really want to
 3                 inflict all of that pain that had come from when I was
 4                 younger on my parents again.
 5                             This year is my senior year in college. I'm
 6                 about to graduate in May from Cleveland, a student of
 7                 art. It's been my toughest year at school. I know
 8                 that from when the start of this, which was, I believe
 9                 it's nine months exactly today, this has been the
10                 hardest school year for me. I had went to quit from
11                 school. I always knew about people talking about
12                 depression, but I never really knew what that meant
13                 until I went through it for myself. Not wanting to
14                 leave the house. Not wanting to eat. There's periods
15                 where people would call me and be like where have you
16                 been? What are you doing? We haven't seen you in a
17                 while. I had to stop, just stopped talking to a lot
18                 of people because of where I was at mentally. And I
19                 lost a lot of friends, but it was -- I feel like it
20                 was for the bettering of myself.
21                             Growing up, I've always had troubles and
22                 trust issues with men, and I looked to Duane, as I
23                 said, a father figure, and through this whole
24                 situation, I've lost a lot of trust in people, I mean
25                 not people, but men, and I've had to learn how to
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 1                 trust different men that came into my life, and I'm
 2                 always looking like what's their motive, why are they
 3                 here, always questioning different scenario situations
 4                 in my life, because I felt like men more so than
 5                 women -- I'm not saying women are excluded, but men
 6                 run more games than women do, and I've always clinged
 7                 more to women than to men.
 8                             But I met some guy in my life that helped me
 9                 get through different, the situation and that have
10                 helped me to see where I was at and not to lie to
11                 myself and tell myself that I'm somewhere that I'm not
12                 mentally. There were people I could always pray with
13                 or talk to or discuss different scenarios going on
14                 with school or how I was doing in school.
15                             I learned -- from all of this, I learned how
16                 to really get on my face and pray for myself. I
17                 surround myself now with probably about four or so
18                 friends that hold me accountable for things I'm doing,
19                 things that I'm saying. I've been growing a lot
20                 spiritually, and I'm learning how to trust God. I've
21                 gotten to know him for myself. In spite of everything
22                 that has happened, I forgive Duane. I forgive him for
23                 everything that has happened. I don't have any hate
24                 towards this man.
25                             But that's not to say that I don't forget,
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                                                                               15



 1                 and I really felt -- I really question myself for
 2                 wanting to come forward with all of the information
 3                 because I was scared. I was ashamed, as I mentioned
 4                 before. But I felt like if I didn't say something,
 5                 all of the guilt from past that I can speak -- the
 6                 past -- people help would be on me and I couldn't walk
 7                 knowing that this could possibly happen to someone
 8                 else.
 9                             I'm that's all I want to say.
10                             THE COURT: Mr.                  I feel compelled to
11                 tell you that I think you are a remarkable young man
12                 and I'm very proud of you for your perseverance and
13                 I'm certain your family is proud of you as well. You
14                 appear to me to be a genuinely kind man, a thoughtful
15                 person, and particularly thoughtful in how you've
16                 approached today. Very few people would be capable
17                 standing up here and making the statement that you
18                 just made. Thank you.
19                             MR. LOWRY: Thank you. Those would be all
20                 of the witnesses, Your Honor.
21                             THE COURT: Mr. Youngblood, please step back
22                 to the microphone. Mr. Youngblood, now is the
23                 opportunity for you to make allocution to the Court.
24                 Do you have anything you would like to say?
25                             THE DEFENDANT: Yes. In 2008, I came into
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 1                 this building behind a case that I pleaded guilty to
 2                 sexual assault charge. I served a year's house
 3                 arrest, and after a year's house arrest in July of
 4                 2009, I began sex offenders treatment. The first year
 5                 of sex offenders treatment, we went threw a book where
 6                 we discussed, in essence, showing the person that
 7                 typically people who are involved in sex offenses have
 8                 had an issue of expressing their emotion and feelings,
 9                 after that first year, of going through the book, I
10                 certainly could see the pattern that had been truly my
11                 own story.
12                             So six months later, a new therapist came in
13                 and took over our group, and one day, December, second
14                 week of December of 2011, in our therapy class, we
15                 were asking them a lot of questions. One of the
16                 questions led him to share with us the four things
17                 that he said he is involved in every sex offense. He
18                 said it was anger, power, intimacy deeds and
19                 physiological sex. It was a statement that impacted
20                 my life and has served moving forward to change my
21                 life because I was a person who always said I didn't
22                 have anger. I didn't feel powerless. Though I've
23                 been holding on to a story, my own story for a lot of
24                 years.
25                             From that point moving forward for the next
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 1                 nine months, in individual therapy and group therapy
 2                 all I personally dealt with was anger I had had
 3                 towards my own father and other men in my life and why
 4                 I felt powerless by having been assaulted sexually
 5                 myself multiple times.
 6                              Moving forward from there, I realized that
 7                 they were two separate things, what had happened to me
 8                 and what I had done, and I was able to finally
 9                 separate the two. It says in this particular case
10                 that things ended between                   and I in 2011. That
11                 was a very accurate statement because it was
12                 Thanksgiving weekend was the last time I seen him, two
13                 weeks later that this statement happened. I spoke to
14                            in January of 2012. That was when I offered
15                 my apology to him because I could see that there was a
16                 difference being in a victim per se and carrying out
17                 actions against other people because you're a victim
18                 and realizing that I had responsibility for my own
19                 actions regardless to what had taken place in my life.
20                              I was also told at sex offenders treatment
21                 that if I had done anything to anyone that I felt and
22                 encountered that person, that it was appropriate thing
23                 to offer, an apology to the person, sincere,
24                 regardless for what you had done. And in addition to
25                 that, that it was not our responsibility or right to
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 1                 publicly put people's names and things out there if
 2                 that person may not have been ready to deal with the
 3                 situation as well.
 4                             So I followed that and have followed that
 5                 since January of 2012 with any circumstances,
 6                 situation that I felt that I had harmed anyone in any
 7                 way, shape, or form.
 8                             In this particular case, I am extremely,
 9                 extremely sorry. Sitting here listening to this
10                 family today has even taken that to a whole nother
11                 place in my heart.
12                             The last thing I ever wanted to do in my
13                 life was to hurt anybody. I have spent 24 years in
14                 active ministry, and I believe in those 24 years, it
15                 helped a lot of people, but I'm willing to admit this
16                 family I've definitely hurt.
17                             I would say first to                that I am so
18                 sorry that I let you down. I wish I had been further
19                 along in my own treatment. You didn't deserve it.
20                 Ever.
21                             And I'm going to say to your father, you
22                 served me faithfully every Sunday. I am so sorry for
23                 what I put you through. I didn't know how to speak to
24                 anyone in regards to stuff like this.
25                             To        I hope sometime in the future you
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                                                                               19



 1                 would be able to forgive me for what I've done to your
 2                 son. I've never wanted to or intended to ever mislead
 3                 any person. When I realized that I was harboring
 4                 anger and feeling powerless, unable to share my own
 5                 emotions with people covering the story since I was
 6                 12-years-old, I realized then in some ways I had
 7                 become the man I hated.
 8                             I can say this today that I'm thankful for
 9                 my therapy. I'm thankful for the spiritual advisors
10                 in my life, and I'm thankful for my family and
11                 friends. I've been able to be a different person.
12                 Treat people differently. You don't have to be the
13                 person that I've been.
14                             Your Honor, I just ask for mercy of this
15                 Court. I believe in my heart of hearts that I can be
16                 of help to many people in this world. I've talked to
17                 a lot of people who, unfortunately, have had pain for
18                 situations in their lives and they've moved on and
19                 taken a lot positions of leadership and have
20                 unresolved things in their lives and maybe headed down
21                 this very same path without some intervention and
22                 help.
23                             I would like the opportunity to be able to
24                 continue therapy with my spiritual advisors and to be
25                 able to be with my family as well. That's all.
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                                                                               20



 1                             THE COURT: Mr. Raiford.
 2                             MR. RAIFORD: Your Honor, it's kind of --
 3                 it's been an awkward representation of Bishop
 4                 Youngblood to me. When I -- everybody in the city
 5                 knows that I'm an elder at Petra International
 6                 Ministries, which is a very large church, and when
 7                 Bishop Youngblood called me to represent him, I prayed
 8                 about it, and if anybody ever called me from the court
 9                 or otherwise on my phone, my phone machine says, you
10                 know, leave me a message, but pray more than you say.
11                             And praying about this situation, I did take
12                 his case on, but not to the extent that I approached
13                 the case from a point of view of case law and elements
14                 of offenses to be proven and facts to be presented,
15                 but from the standpoint of counseling and truth,
16                 because a church leader should be a safe place. A
17                 church leader should be a place where people can come,
18                 confide, be healed, be introduced to God, not
19                 introduced to themselves, not introduced to the wicked
20                 part of yourself of which man without God has in
21                 abundance.
22                             And so that's the part I've taken in Bishop
23                 Youngblood's life in terms of -- I even had my own
24                 daughter to say when are you taking this case on for
25                 us in Baltimore, and a lot of people in the church
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 1                 have almost categorically said are you out of your
 2                 mind, but that's kind of strange because it seems like
 3                 if you are a christian, then our responsibility is to
 4                 take on those and be touched by those that -- Jesus
 5                 allowed himself to be touched by those that everybody
 6                 thought was foul or leopard or had some kind of issue.
 7                             Well, Mr. Youngblood clearly has an issue,
 8                 but I could not justify my oath that I took to God and
 9                 get on the bandwagon of prosecution. But I do know
10                 this, I did tell him this, that I believe -- and this
11                 is how I even swear me being a lawyer with what God
12                 called me to do because being a lawyer is just a tool.
13                 But that's not who I am. What I am is a christian and
14                 disciple of Christ Jesus, having been through all
15                 kinds of things myself, and there's nothing probably
16                 anybody done in this courthouse that I didn't do
17                 worse.
18                             So I know that I've been forgiven and
19                 redeemed and I believe that anybody can. So I believe
20                 that for me, the glory of our justice system is a
21                 redeemed life. A redeemed life. The foundation of
22                 which is repentance. The crown of which is
23                 forgiveness.
24                             So going through the police reports was not
25                 the big part of it. That was pretty easy. But the
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 1                 repentance part, feeling like being godly sorry about
 2                 what you've done. Repentant, it's a word that means
 3                 to be lifted back up again, to be put in a proper
 4                 position, that ergo, that's how you get penthouse. In
 5                 other words, when you repent, you are put back in good
 6                 stead. Maybe not with man because man won't always
 7                 forgive you, but at least -- but most importantly with
 8                 God.
 9                             So by the time we went through the police
10                 report and read that               told the police that
11                 everything he did was voluntarily done, I knew that
12                 that time, that this young man is, as the Court just
13                 indicated that he is, he's a very sensitive young
14                 person that didn't deserve to have happen to him what
15                 happened to him by what should have been a safe place.
16                             And so, we quickly got to the point where we
17                 have to be accountable. We have to plead. I am not
18                 going to put this young man through cross-examination.
19                 There's no doubt that, you know, as Bishop Youngblood
20                 said to his parents I've done something inappropriate
21                 of a sexual nature.
22                             Well, funny thing about it, you can't
23                 halfway say you are sorry and you can't halfway -- a
24                 lot of people do it though. A lot of people plead
25                 guilty. Then all of a sudden they don't want to go
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                                                                               23



 1                 through the penalty phase. And so if you are not
 2                 willing to face it, then at the end of the day, you're
 3                 not repentant. If you plead guilty, then all of a
 4                 sudden you start wanting to fire your lawyer after you
 5                 get the sentence, then really at the end of the day,
 6                 you're not really repentant.
 7                             So that's what we talked about. And I
 8                 sincerely in my heart believe -- I know that Bishop
 9                 Youngblood -- you know, the church is not exempt from
10                 human frailty. I mean, all you have to do is look at
11                 what happens, and what is happening in the Catholic
12                 Church, and that happens in the Baptist Church,
13                 Presbyterian Church, any church. It's not news when
14                 men fall. It's news when men forgive. It's not news
15                 when people lie, steal, abuse one another. That's the
16                 devil to me. Those things happen inside of people
17                 that are not at that moment connected with All Mighty
18                 God and are not consistently praying and acknowledging
19                 what is off in them, and that's an ongoing process
20                 throughout life for every believer.
21                             But I really do believe that Bishop
22                 Youngblood has gotten to true repentance, and I really
23                 do -- and that's all I'm -- that's all he's
24                 responsible for. He pled guilty. He's accountable.
25                 He cannot be accountable, in spite of his words this
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 1                 morning to the             family. The children are very,
 2                 very blessed, because also you heard their statements
 3                 that they're forgiving. But the parents, you know,
 4                 hey, listen, if you do that to somebody's kid, how
 5                 would you feel if those were your children?
 6                             The young lady talked about how she saw you
 7                 interacting with your daughters and how it impacted
 8                 her. So I understand where the parents are right now,
 9                 but I know that there's enough God in them because I
10                 can see the God in their children to know that
11                 eventually as time goes on, they'll do what the Bible
12                 commands us to do, to forgive, as difficult as it is
13                 at times to do.
14                             But I am -- I do believe that Bishop
15                 Youngblood is repentant. I know he's going to have to
16                 go back in front of Judge Cashman for the violation on
17                 this particular matter.
18                             THE COURT: In speaking of that, he was
19                 detained on July 12th of 2014. So he has credit time.
20                 It will not be applied to both cases. Does he want me
21                 to make his sentence in this case effective on July
22                 12th or would he like to save that credit time for
23                 Judge Cashman?
24                             MR. RAIFORD: Judge, I would like to save
25                 that time for Judge Cashman.
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 1                             THE COURT: Mr. Youngblood, have you had the
 2                 opportunity to discuss that?
 3                             THE DEFENDANT: Yes.
 4                             THE COURT: You agree with Mr. Raiford that
 5                 you would like to save that credit time?
 6                             THE DEFENDANT: Yes, ma'am.
 7                             THE COURT: Mr. Lowry, anything you would
 8                 like to add here today?
 9                             MR. LOWRY: Yes, Your Honor. Judge, a
10                 16-year-old boy went to counseling -- and I'm stealing
11                 in Mr. Raiford's words -- in a safe place, and in that
12                 safe place or at that safe place, it turned into a
13                 place of horror for that 16-year-old boy. A person
14                 who he called father and dad, turned into a
15                 perpetrator in this case.
16                             Now, although it was consensual, this was a
17                 pastor either using his position or other means to
18                 take advantage of a teenage boy. I think in terms of
19                 the sex offender treatment that was brought up -- and
20                 Judge, reading his Pre-Sentence Report, a condition of
21                 that probation from the prior case was to no longer
22                 counsel any children. If he would have simply
23                 followed that condition, at least until he made it
24                 through his counseling, we would not be here today per
25                 that's what the defendant said. So it wasn't simply
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 1                 him going through treatment, but it was also him
 2                 violating that period of probation where he was not to
 3                 counseling children.
 4                             Judge, he was on probation for another sex
 5                 offense when this happened.
 6                             THE COURT: That would not be a mandatory
 7                 though as a result.
 8                             MR. LOWRY: And I would ask you that you
 9                 take all of that, as well as the victim impact
10                 statements, I thought they were all very well done,
11                 into consideration in crafting your sentence on this
12                 case.
13                             MR. RAIFORD: Your Honor, if I might, not to
14                 go back and forth on argument or anything like that,
15                 but one of the things I was going to ask if the Court
16                 is inclined to fashion a sentence in the standard
17                 range, which is 9 to 16 months, you know, some things
18                 happen in your life that you -- Bishop Youngblood's
19                 daughter is having a baby -- had a baby the other day
20                 at the hospital right now with her mother. That's why
21                 they're not here. Bishop Youngblood mother-in-law
22                 died about ten months ago.
23                             THE DEFENDANT: Ten days.
24                             MR. RAIFORD: I'm sorry, ten days ago. And
25                 he's no longer going to go back to that church. He's
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 1                 not, and he's going to make a transition because he
 2                 knows that that's not a place for him to be.
 3                             My plea to the Court was -- I keep saying
 4                 about the sex offender treatment. I would ask Court
 5                 to fashion a sentence if it's has to be in standard
 6                 range so that he might be able to go on house arrest,
 7                 make the transition in the church that he's made, get
 8                 out of there, so that he can -- and also, his family
 9                 suffered greatly because he put them through that, and
10                 when you do what he did, he put them through that.
11                             But that's my desire, if the Court could
12                 fashion a sentence that would allow him as a condition
13                 of house arrest and continue sex offender treatment
14                 because it's not as though he doesn't still need
15                 treatment, and he's got his breakthrough in the
16                 treatment, and when he got his breakthrough in the
17                 treatment back in 2011, that's when things ceased from
18                 happening with him and other individuals.
19                             So that's something I just wanted to asked
20                 the Court to take into consideration of his sentence.
21                             THE COURT: His prior Felony 2 conviction,
22                 based on my reading of the guidelines, he was
23                 sentenced to a way below mitigated range sentence and
24                 given the opportunity to serve it on house arrest and
25                 probation. Clearly that did not serve the interest of
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 1                 protecting the community.
 2                             So I would like to believe today that at
 3                 some point before he was detained treatment did make
 4                 an impact on him, but I have no way of knowing that,
 5                 and it is not my belief that I should roll the dice
 6                 and allow him another opportunity without further
 7                 testing, including polygraph, maintenance polygraph
 8                 that we employ through the treatment to ensure that he
 9                 has fully vested in treatment and will abide by
10                 conditions in the community, such as not having
11                 contact with minors and certainly not counseling
12                 minors.
13                             So he got a break on his earlier sentence
14                 for a very below mitigated range sentence, and the
15                 outcome of that is that we're here again today and
16                 there are additional victims.
17                             MR. RAIFORD: But the dates in terms of the
18                 date that this Complaint was filed, this Complaint was
19                 filed subsequent to a meeting that Bishop Youngblood
20                 had with Mr.               family indicating, out of his
21                 own mouth, based on the treatment he received, that he
22                 had done something inappropriate with their child. So
23                 the treatment was working well before this case, these
24                 charges in this particular case were filed.
25                             THE COURT: Well, I would like to believe
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 1                 that as well, but Mr. Raiford, didn't he accept
 2                 responsibility in the first sexual assault as well?
 3                             MR. LOWRY: That's true. It's like -- it
 4                 would be nice if -- it's like a sanctification in
 5                 life. It would be nice if you -- at the time that you
 6                 Judge Cashman sentenced him and he started sex
 7                 offender treatment, if he didn't need the treatment,
 8                 but he did need it, and then he starts getting better,
 9                 but during course of the time of his treatment, he
10                 falls, and then he confesses, and now he's here today
11                 based on something that happened those years ago.
12                             So I think the treatment was working. I
13                 just think that it doesn't happen right away, though,
14                 and it's a process of working, and I think this --
15                 unfortunately this, if it wasn't working --
16                             THE COURT: Again, Mr. Raiford, I don't mean
17                 to cut you off. We have been at this sentencing now
18                 for an hour. I understand your point. I don't have a
19                 crystal ball. I don't know where he is in the process
20                 you are describing and I'm not willing to take a risk
21                 that he will create additional victims.
22                             What I would like to do is sentence him to a
23                 period of incarceration in the standard range. I
24                 understand that he has accepted responsibility, that
25                 he is remorseful, but that is only one element. He
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 1                 was in a position of trust. He was precluded by his
 2                 probation from engaging in counseling with minors and
 3                 he violated that. He was in treatment for his earlier
 4                 sexual offense and was not honest or forthcoming in
 5                 the treatment and created additional victims.
 6                             For all of those reasons, I am going to
 7                 sentence him in the standard range to a period of 16
 8                 to 48 months. We will allow him to continue to
 9                 receive treatment while he is incarcerated and with
10                 appropriate testing, allow the Parole Board to
11                 determine when he has received sufficient benefit from
12                 that treatment to return to the community in a way
13                 that will allow other children to be safe, with a
14                 consecutive three-year period of probation. His
15                 sentence is effective today at counsel's request and
16                 at Mr. Youngblood's request. He will be subject to
17                 the charge specific special conditions and we did
18                 review those. He is also a lifetime Megan's Law
19                 registrant based on the sex offense language.
20                             Mr. Youngblood, you have the right within 10
21                 days of today to file a motion to challenge the
22                 validity of your plea of guilty, a motion seeking to
23                 modify your sentence or a motion in arrest of
24                 judgment. You also have the right within 30 days to
25                 file a direct appeal to the Superior Court. You have
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 1                 the right to have a lawyer representing you at all
 2                 stages of the proceedings, and if you cannot afford
 3                 one, I would appoint one for you at no cost.
 4                             Have you spoken with Mr. Raiford regarding
 5                 your post-sentence and appellate rights?
 6                             THE DEFENDANT: Yes.
 7                             THE COURT: Do you understand those rights?
 8                             THE DEFENDANT: Yes.
 9                             THE COURT: Thank you.
10                             MR. LOWRY: Thank you, Your Honor.
11                                              - - -
12                       (Whereupon, the proceedings were concluded.)
13                                              - - -
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    COMMONWEALTH OF PENNSYLVANIA)
                               )
    COUNTY OF ALLEGHENY         )




                                    CERTIFICATE OF REPORTER


           I, Veronica R. Trettel, a Registered Professional
   Reporter, do hereby certify that the evidence and proceedings
   are contained fully and accurately in the machine shorthand
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                                         ____________________________
                                           Veronica R. Trettel, RPR
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